               Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 1 of 52



    FILED - USDC -NH
    2023DEC lPMl2'.4B       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE


       JOHN ANTHONY CASTRO                             )
       12 Park Place, Mansfield, TX 76063              )
                                                       )
            Plaintiff,                                 )
                                                       )
       V.                                              )
                                                       )
       SECRETARY OF STATE DAVID SCANLAN                )   Case No,
       107 North Main Street, Room 204, Concord,       )
       NH 03301                                        )
                                                       )
       DONALD JOHN TRUMP                               )
       1100 S. Ocean Blvd, Palm Beach, FL 33480        )
                                                       )
            Defendants.                                )
                                                       )


            VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF




1




                                                   1
                       Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 2 of 52




                                                       TABLE OF CONTENTS

      1.     Claim for Relief
           A. Jurisdiction
           B. Parties                                                                                               9

           C. Venue                                                                                                 9

           D. Entitlement to Relief                                                                                 9

           E.        Demand for Relief.                                                                             12

      II.    Summary of the Argument                                                                           12

           A. Plaintiff Has Political Competitor Standing                                                           14

                1.     Plaintiff Has an Injury-in-Fact                                                              15

                 (i) Diminution in Votes                                                                            15

                 (ii)          Ripeness of the Injury                                                               17

                       (I)          Fitness of the Issue: Plaintiff is an Active 2024 Presidential Candidate        18

                             (I)      Plaintiff is a Bona Fide Candidate                                            18

                             (II)     Not Remote or Abstract: The Competition for Votes Has Already Begun           19
                       (2)          Threat of Severe Hardship if Judgment Withheld                                  19
'i*
                             (I)   Withholding Consideration Would Result in Plaintiff Losing Voters and
                             Donors to a Constitutionally Disqualified Candidate                                    20

                             (II)   Withholding Consideration Would Risk the Controversy Not Being Timely
                              Addressed by the U.S. Supreme Court Before the Primary Elections Thereby
                              Mooting the Issue and Forever Denying Plaintiff Any Relief and Redressability 21
                             (III) Withholding Consideration Would Compel Plaintiff to Invest Millions of His
                             Own Funds to Campaign with Lower Odds of Success                               22

                     (iii)     Plaintiff is Within the Zone of Interests Sought to Be Protected                     22

             2.        Traceability                                                                                 23

                     (i) Plaintiffs Injury is Indisputably Traceable to Defendant Donald John Trump's
                     Unconstitutional Candidacy                                                                     23

             3. Redressability: Enjoin the State from Placing Defendant Donald John Trump on any
             2024 Ballots                                                                        23
                       (!)          Federal Question Being Answered is the Prerequisite to Relief                   24

                              Declaratory Judgments are the Remedies that Would Redress Plaintiffs Injury
f-                      by Aiding in the Removal of an Unconstitutional and Disqualified Political Competitor
                              24

                             (I)      Declaration Whether'Frump Provided Aid or Comfort to Insurrectionists         24



                                                                    9
            Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 3 of 52




             (II)       If Trump was Found to Have Provided Aid or Comfort to the Insurrection,
              Could frump be Enjoined from Campaigning as that Would Be Knowingly
              Fraudulent Misrepresentation                                                        25

             (Ill) If Trump was Found to Have Provided Aid or Comfort to the Insurrection,
             Could Trump Be Enjoined from the Unconstitutional Act of Submitting a State Ballot
             Access Application                                                              25

             (IV) If Trump was Found to Have Provided Aid or Comfort to the Insurrection,
             Could the Declaratoiy'.ludgment Permit State-Level Enforcement to Enjoin State
             Election Authorities from Accepting the Ballot Application                     26

             (V)        Does Plaintiff Have Standing to Enjoin the Republican Party from Nominating
              Trump26
             (VI) Alternatively, as a Write-In General Election Candidate, Does Plaintiff Have
             Standing to Enjoin Trump's Inauguration                                          26

             (VII) Lastly. Declaratory Relief Act Relaxes Redressabilily Analysis                 27

     B. Section 3 of the 14th Amendment is Self-Executing                                         27

       1.   Anti-Insurrection Qualification Section                                               28

       2.   Amendment XIV. Section 3. Clause 1                                                    29
                                                                                                  *1 ">
       3.   Amendment XIV. Section 3. Clause 2

       4.   The Scope of Amendment XIV                                                            33
       5.   Enforcement of Amendment XIV                                                          35

       6.   Plaintiff Has Stated a Valid Claim Upon Which Relief Can and Must Be Granted          37
     C. Injunctive Relief.                                                                        42

            0)        Substantial Likelihood of Success on the Merits                             42

            (2)       Substantial Threat of Irreparable Harm Without an Injunction                42

             (I)        Irreparability of the Injury                                              43

             (11)       Degree of the Threat                                                      43

              (Ill)     Infringement of Constitutional Rights and Protections                     43

                   Actual Sustained Harm and Threat of Further Injury Outweighs the Harm that an
            Injunction Would Cause Defendant                                                  44

            (4)       Injunction Will Not Disserve the Public Interest                            44




■t
          Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 4 of 52




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  2 Ban. El. Cas. 461 (1868)                                                    30

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  450 U.S. 79(1981)                                                             37

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                                                4
             Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 5 of 52




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I'    67 F.3d 1563 (11th Cir. 1995)                                                        15

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i
y
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                                                    5
        Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 6 of 52




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  ofJefferson Davis. 42 Akron L. Rev. 1165 (2009)                                      28

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                                             1
             Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 7 of 52




         VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

    To The Honorable Court:

           Res Judicata does not apply because the U.S. Court of Appeals for the First Circuit did

    not consider facts and evidence of current and direct competition that arose after the filing for the

    complaint in the prior case. According to the First Circuit. Castro v. Trump I was a private

    citizen action at worst and a ‘'nominal" candidate at best with ’'nonexistenf’ acts of actual

    competition.

           This case. Castro v. Trump IL is an active ballot-placed candidate action who is directly

    competing against Defendant Donald John Trump for voles in this state. As such, the factual

    grounds for standing are entirely dilTerent from Castro v. Trump /. wherein posl-llling factual

    developments were entirely disregarded.
I
           NOW THEREFORE. Plaintiff JOHN Anthony Castro, pro se. files this Verified

    Complaint for Injunctive Relief against Defendants Secretary of Stale and Donald John Trump.

    in strict conformity with Fed. R. Civ. P. 8(a) for Section I "Claim for Relief." and. in support

    thereof alleges as follows:


    I. CLAIM FOR RELIEF


        A. Jurisdiction


                   Because this cause of action arises under Section 3 of the 14th Amendment to the

    U.S. Constitution, this Court has subject matter jurisdiction over this action pursuant to 28
I
    U.S.C. § 1331.
            Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 8 of 52




    B. Parties


        1       Plaintiff John Anthony Castro is a U.S. citizen and Republican primary

presidential candidate (Candidate FEC ID Number P400()7320) for the 2024 Presidential

Election who cuiTently resides at 12 Park Place in Mansfield,'fexas.

        j.      Defendant Secretai*)' of State is a representative of the state being sued in official

capacity.

        4.      Defendant Donald John I'rump is a U.S. citizen and Republican primary

presidential candidate (Candidate FEC ID Number P80001571) for the 2024 Presidential

Election who currently resides at 1 100 South Ocean Boulevard in West Palm Beach. Florida.


    C. Venue


        5.      Because Defendant Secretary of State operates in this district, venue is proper in

this district pursuant to 28 U.S.C. § 1391(b)(1). Defendant Donald John Trump has stated his

intent to violate the U.S. Constitution in this district by unlawfully submitting his ballot access

documentation here.


    D. Entitle.ment TO Relief


        6.      Plaintiff is a ballot-placed 2024 Republican Presidential Candidate that is

currently, actively, and directly completing against Defendant Donald John Trump for votes in

this state.

        7.      Plaintiff John Anthony Castro has actively campaigned in this state by placing

dozens of campaign signs and knocking on doors of potential voters. Moreover, he is engaged in

supplemental digital campaign activities targeting voters in this state via social media and his




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         Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 9 of 52




campaign website. Plaintiff has incurred campaign expenses directly attributable to this state.

including, but not limited to. expenses for campaign yard signs and campaign website hosting

fees for a website targeting voters in this state. Plaintiff has also raised several hundred dollars

in campaign contributions. All of the foregoing occurred after the complaint was filed in the

(.'astro V. Trump I on September 5. 2023. and which the Court of the Appeals asserted could not

be considered on appeal by operation of the "time of llling'’ rule.

               1 intend to be nominated by the Republican Party and to win the General Election

to serve as President of the United Slates.     Because my campaign is about principles. 1 am

bringing this civil action to enforce the U.S. Constitution as an integral part of my campaign to

demonstrate my principles.

       9.      The U.S. Constitution. Article 1. Section 4. Clause 1. also known as the Election

Clause, does not apply to Presidential elections and Presidential candidate eligibility. "The

Times. Places and Manner of holding Elections for Senators and Representatives, shall be

prescribed in each State by the Legislature thereof." I'he unambiguous and plain language of the

clause shows that it is limited to Congressional elections. As such, it is the province of the

lederal judiciary to determine this federal question with zero involvement from the state.

       10.     Section 3 of the 14th Amendment created an implied cause of action for a fellow

primary candidate to obtain relief for a political competitive injury by challenging another

candidate's constitutional eligibility on the grounds that they engaged in or provided "aid or

comfort" to an insurrection.

       11.     On September 29. 2020. then Commander-in-Chief of the United Slates Armed

Forces issued an executive military order to a paramilitary organization known as the Proud

Boys that was led by Chairman Enrique Tando when he instructed them on live television to




                                                10
            Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 10 of 52




    "stand back and standby.”
I
            12.     On January 6. 2021. after witnessing a large group of Trump supporters violently

    attacking the United States Capitol to prevent the lawful ccrtillcation of the 2020 election results

    with the goal of unlawfully compelling Donald John Trump's inauguration on Januaiy^ 20. 2021

    (hereafter referred to as the "Januaiy 6th Insurrection”). Defendant Donald John Trump stated on

    live television, "we love you. you're vcr>' special” to the insurrectionists. Defendant Donald

    John Trump provided the insurrectionists with comfort in the Ibrm of words of sympathy.

             j.
                    On January 29. 2022. Defendant Donald John Trump publicly stated. "If I run and

    il' 1 win. we will treat those people from January 6 fairl>'. We will treat them fairly. And if it

    requires pardons, we will give them pardons.” Defendant Donald John Trump promised the

    insurrectionists aid in the form of e.xccuti\e pardons for their criminal attempt to unlawfully

    overturn the 2020 election results.

            14.     On May 4. 2023. Proud Boys Chairman Hnrique Tarrio was convicted of

    Seditious Conspiracy.     Sedition and Insurrection are synonymous terms.           In effect. Enrique

    larrio. the individual to whom Defendant Donald John rrump issued an executive military'

    order, was convicted of conspiracy to commit an insurrection.

                    On June 22. 2023. Defendant Donald John frump hosted a fundraiser for the

    January 6 insurrectionists thereby assisting in the acquisition of financial aid for their legal bills.

            16.    Based on these instances and other acts of ratillcation of the acts of and sympathy

    with the convicted criminals of the January 6th Insurrection. Defendant Donald John Trump

    provided "aid or comfort” to an insurrection in violation of Section 3 of the 14lh Amendment to

    the U.S. Constitution and is. therefore, constitutionally ineligible to pursue or hold any public

    office in the United States.




                                                      11
        Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 11 of 52




        17.    Because Plainiifr is a fellow FEC-rcgislered Republican primary candidate.

Plaintiff will suffer an injury that ma> be redressed by the Judiciary with injunctive relief.


   E. Dem.and FOR Relief


               Plaintiff John Anthonv’ Castro asks this Court to issue an injunction preventing

Defendant Secretary of State from accepting and/or processing Defendant Donald John Trump's

ballot access documentation, including, but not limited to. nominating papers and nominating

petitions.

        19.    Plaintiff John Anthony Castro asks this Court to issue an injunction preventing

Defendant Secretary of State from printing ballots containing Defendant Donald John Trump's

name.

        20.    If the Court rules in Plaintiff John Anthony Castro's favor but the state has

already printed state election ballots. Plaintiff John Anthony Castro asks this Court to order the

ballots be re-printed with Defendant Donald John Tnimp's name removed from the ballot.

        21.    If the Court determines that re-printing of the state election ballots is impractical.

Plaintiff John Anthony Castro asks this Court to issue an injunction preventing Defendant

Secretary of State from counting any votes (ballot or WTite-in) in favor of Delendanl Donald

John 'frump.

        99
               Plaintiff requests any other relief he may be entitled to at law or equity.


II. SEIVIIVIARY OF THE ARGUMENT


        23.    Because Plaintiff is a Republican Presidential candidate actively competing

against Delendant Donald John Trump for the nomination of the Republican Party to pursue the

Office of the Presidency in the general election in 2024. Plaintiff has standing to pursue a claim


                                                 12
            Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 12 of 52




    regarding Delendant Donald John Trump's qualifications and eligibility to be a candidate in this

    state's primary election. Section 3 of the 14th Amendment is self-executing thereby providing

    an implied cause of action directly thereunder to an individual with judicial standing to enforce

    the provision.     Plaintiffs claim is that Defendant Donald John Trump ‘'engaged" in the

    insurrection with convicted insurrectionist Enrique 'farrio via direct military orders to “stand

    back and stand by’' and provided "aid or comfort" to other insurrectionists in the form of


1   financial fundraising, expressions of sympathy with the insurrectionary movement, and promises

    of pardons for those who violently attacked our United States Capitol on January 6. 2021.

    Because the goal of the insurrection was to thwart the peaceful transfer of power via the

    Electoral College's certification of the election results and to unlawfully compel the re¬

    inauguration of then-President and current Defendant Donald John frump, this was indisputably

    an insurrection that Defendant Donald John Trump previously did and presently continues to

    provide both aid and comfort to. As such. Plaintiff seeks a declaratoiy judgment that Defendant

    Donald John frump is disqualified under Section 3 of the 14th Amendment. Furthemiore.

    Plaintiff seeks an injunction against Del'endant Secretary ol' State to prevent the acceptance

    and/or processing of any ballot access documentation of Defendant Donald John Trump for both

f   the primary' election and general election.

           24.       Moreover, because a primar\' election is wholly unrelated to the general election's

    competition for electors who will ultimately convene as the Electoral College, which is governed

    by the U.S. Constitution and the Electoral Count Act. the Political Question Doctrine does not

    apply. If the Political Question Doctrine applies, it could only arguably apply to the general

    election, which begins after the Republican National Convention that takes place on July 15-18,

    2024. flowever. due to Congressional amendments to the Electoral Count Act that removed the




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              Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 13 of 52



i
    ability to object on the basis of constitutional ineligibility to hold ofllce. it is likely that the

    operational mechanics of the U.S. Constitution and the Electoral Count Act no longer result in

    the application of the Political Question Doctrine since the Electoral College Act no longer has

    that authority; hence, there is no textually demonstrable constitutional commitment of the issue

    to the U.S. Congress. Moreover, it is only the stator Electoral Count Act that arguably permits

    the determination of constitutional eligibility of a Presidential candidate; the U.S. Supreme Court

    requires text in the U.S. Constitution itself in order to trigger the Political Question Doctrine.


        A. PlainTH-F Has Political Competitor Standing


             25.       Plaintiff John Anthony Castro is a ballot-placed New Hampshire Republican

    Primary Candidates.

             26.       The Constitution limits the jurisdiction of the federal courts to actual cases or

    controversies.' ’“One element of the case-or-controversy requirement is that [plaintiffs], based on

    their complaint, must establish that they have standing to sue.“"                          The doctrine of standing.

    "rooted in the traditional understanding of a case or controversy... developed... to ensure that

                                                                                                              ●o
    federal courts do not exceed their authority as it has been traditionally understood.                          "[T]he

    ‘in'educible constitutional minimum' of standing consists of three elements."'^                       The "plaintiff

    must have (1) suffered an injury in fact. (2) that is fairly traceable to the challenged conduct of

    the defendant, and (3) that is likely to be redressed by a favorable judicial decision.*

             27.        The United States Coun of Appeals for the D.C. Circuit has recognized the

    concept of Political Competitor Standing on the basis that an injury would logically be


    ' U.S. Const, an. 111. § 2. cl. \ . see also Raines v. Byrd. .^21 U.S. 81 I. 818 (1997).
    - Raines. 52 \ U.S. at 818.
    ●' Spokeo, Inc. v. Robins. 578 U.S. 330 (2016).
    ^ Id. (quoting Lujan v. Defenders of Wildlife. 504 U.S. 555. 560 (1992)).
    ^ Id.



                                                                 14
              Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 14 of 52




     diminution of votes traceable to the political competitor and redressable by a court.^ Political

     Competitor Standing, however, is onl\ available to plaintiffs who can show- that they "personally
f    compete[] in the same arena with the same party.
                                                                   "1
                                                                        The D.C. Circuit has also held that if a

     plaintiff can show that he is a "direct and current competitor." then competitor standing must be

     recognized as a matter of law.*^ The federal judiciary has recognized that a candidate, as opposed

     to "individual voters and political action groups" would have "standing based upon a

     'competitive injury'" if, again, the candidate can show that he "personally competes in the same

                                     '^9
     arena with the same party.

             28.       Castro is an FEC-registered 2024 Republican Presidential candidate and is

     currently directly competing against Trump for the Republican nomination for the Presidency of

     the United States. As such. Castro has political competitor standing to bring this suit.


              1. Plaintiff Has an lnjur\-in-Fact
\{



             29.       To establish standing, a plaintiff must show that the plaintiff has suffered an

     "injury in fact caused by the challenged conduct [of the defendant] and redressable through relief

                               ■no
     sought from the court.


                    (i) Diminution of Votes and Dilution of Political Market Position


              30.      Castro and Trump are not only competing for the same political position within



       See Shays v. F£C. 414 F.3d 76. 87 (D.C. Cir. 2005).
        Goiilieh V. FEC. 143 l-.3d 618. 621 (D.C. Cir. 1998) (internal quotation marks omitted); see also Fidani v. Brady,
     935 F.2d 1324. 1327-28 (D.C. Cir. 1991) (holding that presidential candidate did not have “competitor standing” to
     challenge CPD's tax-exempt status where the candidate was not eligible for tax exempt status); Hassan v. FEC, 893
     F. Supp. 2d 248. 255 (D.D.C. 2012), af'd. No. 12-5335. 2013 WL 1 164506 (D.C. Cir. 2013) (“Plaintiff cannot
%
     show that he personally competes in the same arena with candidates who receive funding under the Fund Act
     because he has not shown that he is or imminently will be eligible for that funding.").
     ^ New World Radio. Inc. v. FCC. 294 F.3d 164. 170 (D.C. Cir. 2002)
        Ha.s.san, 893 F. Supp. 2d at 255 n.6 (D.D.C. 2012) (emphases added) (quoting GoltHeb. 143 F.3d at 621)
     to
         Shays. 414 F.3d at 83 (internal citation omitted).



                                                              15
            Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 15 of 52




    the same political party but are also appealing to the same voter base. Castro retains support

    from unions and his extensive experiences with union organizing is appealing to working class

    Americans. Similarly. Trump also does not appeal to big donors and most of his donations

    consist of donors giving small amounts. Consequently. Castro will be primarily targeting the

    same voters as frump, and Castro will allocate a significant portion of his campaign finances to

    such cause.

t          31.       In fact, throughout his campaigning efforts to date. Castro has spoken to

    thousands of voters in this state who have expressed that they would vote for Castro only if

    frump is not a presidential candidate as they maintain political loyalty to Trump.

           32.       A primary candidate has judicial standing to bring a claim challenging the

    eligibility of a fellow primary candidate for competitive injury in the form of a diminution of

    votes and/or fundraising if the primary candidate believes that the fellow primary candidate is

    ineligible to hold public office and to prevent actions irreconcilable with the U.S. Constitution.''

                     Castro will further suffer irreparable competitive injuries if Trump, who is

    constitutionally ineligible to hold office, is able to appear on the ballot and secure votes in

1   primary elections. The state's acceptance of Trump's ballot access documentation would be

    unlawful state action in furtherance of aiding Trump's violation of the United States

    Constitution.    Trump's constitutionally unauthorized undertaking will put Castro at a voter

    disadvantage. Moreover, frump's unlawful entrance into the primary election will chill Castro's

    willingness to spend his own funds to campaign due to Trump's overwhelming popularity.

           34.       frump, without this Court's intervention, v/ill siphon off votes in violation of




     See Fulani. 882 [-.2d at 628.



I                                                    16
              Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 16 of 52



                                                                               12
     Section 3 of the 14lh Amendment to the U.S. Constitution.                      There are only 162 Republican

     Party candidates for the Presidency of the United States thereby identifying the actual named

     individuals with particularity that his candidacy is injuring. By definition, this “particularizes*’

     the injuiy.


                    (ii) Ripeness ofthe Injury


              35.      “If further factual development would help the court adjudicate the case, the case

                                                         -13
     ma\’ be unripe and therefore nonjusticiable.

              36.      Any argument that this action is not yet ripe is contradicted by both Trump and

     Castro's active campaigning to secure the support of voters and donors for his Presidential

     candidacy. Like Castro. Trump is a declared candidate currently courting voters and seeking

     funds on his campaign website: wwv\.DonaldJTrump.com. Castro also has an active campaign

     website: ww'w.JohnCastro.com. Put plainly. Trump and Castro are both pursuing the same voter

     and donor pies, and Trump is currently taking a slices of the voter and donor pie that logically

     reduces the available pie left for Castro. The injuiy is factually real and presently happening at

     this very moment. We need not wait until voters actually cast their ballot since that would make

     the injury an irreparable harm, render those votes irrelevant, and possibly translbrm this

     controversy into a nonjusticiable political question.

              37.      Under the Declarator} Judgment Act. a case or controversy must exist at the time
If



        U.S. Const., art. XIV. § 3 “No person shall be aln|...elector of President...or hold any office... under the United
     States....who....shall have engaged in insurrection or rebellion against the same, or given aid or coinfoii to the
     enemies thereof."
     ’’ See FulanL 882 F.2d at 628.
         Ahhut Labs, v, (Jardner. 387 U.S. 136 (1967). Within the Third Circuit, the Step-Saver Test is applied in
     declarator}'judgment cases and looks to "(I) the adversity of the parties' interests. (2) the conclusiveness of the
     judgment, and (3) the utility of the judgment." Step-Saver Data Sys.. Lnc. v. iVyse Tech.. 912 F.2d 643 (3d Cir.
      1990); see Plains All Am. Pipeline L.P. w Cook. 866 F.3d 534. 539-540 (3d Cir. 2017).


                                                               17
              Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 17 of 52



                                                    14
     the declaratory judgment action is filed.             However, despile Plaintiff evidencing the ripeness of

     this controversy, the Declaratory .ludgment Act was designed to declare the rights and legal

     relations and issues between parties prior to ripeness and to assist the parties in determining

                                                    , 15
     possible options for redressability. if any.           The Declarator) Judgment Act is designed to enable

     courts to declare rights of adverse parlies to lawsuit even though that suit may not have ripened

                                                                    tft
     to a point at which an affirmative remedy is needed.                 As such, the standard for a judgment under

                                                                                                      17
     the Declaratory Judgment Act is whether such judgment would merely be useful.

             38.      A declaratory judgment is an opportunity for a party to determine the point at

     which a controversy would ripen in order to seek prompt resolution by a court rather than

     waiting for an opposing party with a ripe injury or controversy to sue. particularly where delay in

     seeking judicial intervention will cause substantial prejudice to a declaratory judgment

              ● 18
     plaintiff


                      (I) Fitness of the Issue: Plaintiff is an Active Ballot-Placed 2024 Presidential

                           Candidate



                          (!) Pliuntiffis n Ballot-Placed Candidate


             39.      Plaintiff John Anthony Castro paid a $1,000 fling fee and fled his Declaration of

     Candidacy with the New Hampshire Secretary of State on October 11.2023.

             40.      Plaintiff John Anthony Castro dispatched two campaign volunteers. David Obed

     Garza and Alexander Dominic Gomez, to New Hampshire on October 27, 2023. to place dozens

     of campaign yard signs as w'ell as to knock on the doors of hundreds of New Hampshire voters.
■i

     14
        GTE Directories Puh. Carp. v. Trimen America. Inc.. 67 l-'.Sd 1563 (1 1 ih Cir. 1995).
     i.s
        28 U.S.C. § 2201(a) (“[W]hether or not... relief... could be sought.")
     10
        Davao V. Slale}\2Q3 F. Supp. 16(S.D.Tcx. 1969),           424 F.2d 1 131 (5th Cir. 1970)
     17
        .-\aron Enterprises. Inc. v. Federal Insurance Company. 415 F.Supp. 3d 595 (E.D. Pa, 2019).
     IS
        Great .4m. Ins. Co. v. Houston Gen. Ins. Co.. 735 F. Supp. 581 (S.D.N.Y. 1990)


                                                               18
         Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 18 of 52




                     (II) Not Remote or Abstract: The Competition for Votes Has Already

                          Begun


        41.      Although Plaintiff has campaign activities in this state, this is a national race and

activities in other states can, should, and must be considered.

        42.      Plaintiff secured ballot-placement on the Nevada 2024 Republican Presidential

Preference Primary.

        43.      Plaintiff secured ballot-placement on the Arizona 2024 Republican Presidential

Preference Primary.

        44.      Plaintiff is in litigation negotiations currently with the South Carolina GOP to

secure ballot placement as well.

        45.      Plaintiff has campaign managers for the states of Arizona and New Mexico.


                 (2)Threat of Severe Hardship if Judgment Withheld


        46.      A lack of court intervention w'ould result in an irretrievable loss of both voles and

donor funds. Castro has been and presently is being harmed by Trump's actions. As such, relief

at later time would not compensate Castro for his competitive injuries in the form of diminution

of votes and funds.19 Both issues must be properly considered in determining the ripeness of this

controversy.^'* There is no mechanism to redistribute cast primaiy ballots or refund political

contributions that donors make to Trump in order to make those voles and funds available to

eligible candidates. Cash is an inherently finite and limited resource. As such, once those voters

have cast their ballots and/or donors have given their available dollars to an ineligible candidate.




   Mossachuseits L Reform Insi. v. Legal Servs. Carp.. 581 I-. Supp. 1 179. 1 187 - 1 188 (D.D.C. 1984), aff'd sub
iwm..l37F.2d 1206 {D.C. Cir. 1984)
20
   Ari-Metal-USA, Inc. v. Solomon, 473 F. Supp. 1 (D.D.C. 1978)


                                                       19
         Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 19 of 52




ihev are forever lost.

        47.      When an individual has no other opportunity to pursue judicial review.

there is irreparable harm."'

        48.      Additionally, the federal court is the appropriate judiciary; Castro cannot pursue

judicial review of the competitive injury in the form of diminution of votes and funds at the state

level because the injury stems from Trump's ineligibility pursuant to Section 3 of the 14th

Amendment, which is a federal question removable to and/or reversible by a lederal court. The

Election Clause in the U.S. Constitution only applies to Congressional elections. Hence. Castro

seeks a declaratory judgment now as well as injunctive relief before the commencement of the

primary elections.

        49.      While the mere presence of a constitutional question is not de jure irreparable

harm, the controversy is ripe for judicial action if it causes an injury to an individual, is within

the zone of interests sought to be protected by a constitutional provision, is based on a lack of

alternative and timelv remedies, and threatens the loss of votes and donors."



                     (1) Withholding Consideration Would Result in PlaintiffLosing Voters

                          and Donors to a Constitutional!} Disqualified Candidate


        50.      In Tiktok V. Trump, the D.C. District Court held that an irreparable competitive

injury will be found if the alleged misconduct pushes monetizable individuals to alternative

options because those individuals are unlikely to return after they have chosen another option,

which results in an eroding of a competitive position.-’

        51.      Here, the fact pattern is legally identical: Castro declared his candidacy before


  Doe V. Mullis, 928 F.3d 1 (D.C. Cir. 2019)
-- Hwu. Res. Mgmt.. Inc. v. Weaver. 442 F. Supp. 241 (D.D.C. 1977).
   TikTok hie. v. Trump. 507 F.Supp. 3d 92(D.D.C. 2020).



                                                      20
         Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 20 of 52




Trump and is now losing potential supporters and donors to Trump, which is eroding his

competitive position as those potential supporters and donors would be unlikely to ever return

unless Trump was no longer a candidate.


                     (II) Withholding Consideration Would Risk the Controversy Not Being

                          Timely Addressed by the ILS. Supreme Court Before the Primary'

                          Elections Thereby Mooting the Issue and Forever Denying Plaintiff

                          Any Reliefand Redressabilit}


        52.      Where there could be no redress after a coming deadline, there will be a finding of

                   24
irreparable harm."      Here, any delay risks this injury becoming irreparable and possibly mooting

or transforming the case into a non-Justiciable political question as the 2024 Presidential Election

nears closer. It is prudent to address these issues early, and now is the appropriate time.

        53.      The risk of violating the U.S. Constitution and the fact that there could be no do-

over or redress once the election has begun is sufficient to establish a ripeness of the controversy,

a justiciable injury-in-fact, and the very real threat of irreparable harm by erosion of competitive

         2-S
position.

        54.      This case will involve an inevitable appeal to the United States Court of Appeals

lor this circuit as well as the United States Supreme Court. Castro cannot wait until both Castro

and Trump are state-registered candidates because that would guarantee that the injury would

become irreparable, possibly moot the case, possibly transforms the case into a non-justiciable

political question, or expose the Republican Party to irreparable harm as they could lose their

party’s presumptive or actual nominee after millions of Americans cast their ballots in the



-■* League of Women Voters of the U.S.   Newhy. 838 F.3d I (D.C. Cir. 2016)
    Richardson v. Trump. 496 K. Supp, 3d 165 (D.D.C. 2020).



                                                       21
             Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 21 of 52




     primaries. Delaying judicial review of these questions would be a constitutional crisis of the

     federal Judiciary's own making. Castro implores the federal Judiciary to avoid unintentionally

     engineering a crisis. If the federal Judiciary addresses these issues now via the Declaratory

     .ludgmenls Act and injunctive relief, the Republican Party would have time to recover by
i
     funding, supporting, and nominating a constitutionally eligible candidate.


                         (III)       Withholding Consideration Would CompelPlaintiffto Invest

                             Millions ofHis Own Funds to Campaign with Lower Odds ofSuccess


            55.       Withholding consideration at this stage would compel Castro to spend millions of

     dollars of his own funds to continue being competitively injured and to compete against a

     constitutionally unqualified and ineligible candidate with much lower odds of success. For that

     reason, it is prudent for the federal Judiciary' to exercise its Jurisdiction and consider these matters

     now.



                  (Hi)Plaintiffis Within the Zone ofInterests Sought to Be Protected


            56.      Section 3 of the 14th Amendment protects a person from having to politically

     compete against a pro-insurrectionist politician, 'fhis is a federally protected interest under

     Section 3 ofthe 14th Amendment.

            57.      Section 3 of the 14th Amendment was specifically designed to ensure that non-

     insurrectionists did not have to politically compete with the more politically popular pro

     insurrectionist politicians in the South.     The framers of Section 3 of the 14lh Amendment

     specifically designed it to remove overwhelming popular pro-insurrectionists from the ballot. As

     such. Castro is not simply within the "zone'* of interests: Castro is the precise type of person that

i!
     the trainers ot Section 3 of the 14th Amendment specitlcally sought to politically protect while
             Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 22 of 52




    Trump is the precise type of person they sought to disqualify.

            58.       Although the U.S. Supreme Court arguably abolished the doctrine of prudential

    standing in Lexmark?'^ Castro satislles prudential standing in that his injury is particularized and

    concrete, he satisfies Article III standing {injury, traceability, and redressability). and he is within

    the zone of interests sought to be protected by Section 3 of the 14th Amendment to the U.S.

    Constitution.27


I           2. Traceability


                   (i) Plaintiffs Injury is Indisputably Traceable to Defendant Donald John Trump’s

                      Unconstitutional Candidacy


             59.      It is indisputable that Castro's injury^-in-faet is traceable to Trump.


            3. Redressability: Enjoin the State from Placing Defendant Donald John Trump on

                   any 2024 Ballots


            60.       "Plaintiffs need not prove that granting the requested relief is certain to redress

    their injury, especially where some uncertainty is inevitable.                  Nevertheless, the "Declaratory

                                                    ●●2')
    .ludgment Act created. . . a new remedy.                Castro can only interpret Trump’s objection on these

    grounds as a de facto request for more definitive statements on what fonns of declaratory'

    judgments Castro precisely seeks.            The following are the more definitive statements on the

    precise types of declaratoty relief Castro seeks;




    26
       Lexmark Inl'l, Inc. v. Sialic Control Components. Inc., 572 U.S. 1 18 (2014)
    27
       Public Citizen v. FEC. 788 F.3d 3 12 (D.C. Cir. 2015).
       Competitive Enter. Inst. v. NHTSA, 901 F.2d 107. 1 18 (D.C. Cir. 1990).
    29
       Walker Process Ecpiip. , Inc. v. FA/C Cw/;.. 356 F.2d 449. 45 1 (7th Cir. 1966): also see ,Va/7 Crmcer//av/?. ofAm.
    V. Webster, 251 F.2d 466 (2d Cir. 1958); Aralac. Inc. v. Hal Corp. ofAm.. 166 F.2d 286. 290 (3d Cir. 1948).



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         Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 23 of 52




                 (i) Federal Question Bein« Answered is the Prerequisite to Relief



         61.      Whether Trump's actions, words, and/or conduct with regard to the January 6.


2021. insurrectionary attack on the United States Capitol rise to the level of providing "aid or


comforf' to the insurrection is a question of federal law. Before Castro can pursue any relief.


this federal question must be answered. I'he process b>’ which that question is answer can be had


through the Declaratory Judgments Act.               A declaratory judgment would answer all of these

                                                                                             30
questions and clarify the rights and legal relations between Castro and Trump.



                 (2) Declaratory Judgments are the Remedies that Would Redress Plaintiffs


                      Injury by Aiding in the Removal of an Unconstitutional and Disqualified


                      Political Competitor



                      (I) Declaration Whether Trump Provided Aid or Comfort to

                           Insurrectionists



         62.      Pursuant to 28 U.S.C. § 2201(a). this Court "may declare the rights and other


legal relations of' Castro and Trump, including whether Trump is constitutionally eligible to


pursue and/or hold the Office of the Presidency of the United States on the factual assertion that


he provided aid or comfort to the January 6 Insurrectionists.




  See McGruw-Eclison Co. v. Preformed Line Prod. Co., 362 l'.2d 339. 342 (9th Cir. 1966)("The purpose of the
Declaratory' Judgment Act is to afford an added remedy to one who is uncertain of his rights and who desires an
early adjudication thereof without having to wait until his adversary' should decide to bring suit, and to act at his
peril in the interim."’); also see Dii^gins v. Hum. 323 F.2d 746. 748 (10th Cir. 1963)("The general purpose of the
Declaratory Judgment Act... is to provide an immediate forum for the adjudication of rights and obligations in
actual controversy wher'e such controver'sy may be settled in its entirety and with expediency and economy.").


                                                        24
             Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 24 of 52




                      (II) If Trump mis Found to Ihtvc Provided Aid or Comfort to the

                          Insurrection, Could Trump he Enjoined from Campaigning as that

                           Would Be Knowingly Fraudulent Misrepresentation


            63.    Pursuant to 28 U.S.C. § 2201(a). this Court "may declare^ whether, il'Trump was

    found to have provided aid or comfort to the January 6 Insurrectionists. Castro has the legal right

    to enjoin Trump from campaigning for the Presidency since that would violate Section 3 of the

    14th Amendment. FECA. and/or constitute knowingly fraudulent misrepresentation regarding

    eligibility.


                      (HI)        If Trump was Found to Have Provided Aid or Comfort to the

                          Insurrection, Could Trump Be Enjoined from the Unconstitutional

r                         Act ofSubmitting a State Ballot Access Application


            64.    Pursuant to 28 U.S.C. § 2201(a). Castro is asking this Court to "declare the rights"

    of Castro as to whether he can secure an injunction to prevent the unconstitutional act of'frump

    submitting a state ballot access application. In other words, whether the Court can issue an

    injunction preventing Trump from engaging in the unconstitutional act of submitting a state

    ballot access application since that would be violative of his disqualification from public office

    pursuant to Section 3 of the 14th Amendment.




                                                   25
             Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 25 of 52




                         (IV)      If Trump yyus Found to Have Provided Aid or Comfort to the

                            Insurrection, Could the Declaratory Judgment Permit State-Level

                            Enforcement to Enjoin State Election Authorities from Accepting the

                            Ballot Application


            65.     Pursuant to 28 U.S.C. § 2201(a). Castro is asking this Court to “declare the rights'"

     of Castro as to whether he has standing and the right to secure an injunction to prevent individual

     stale election authorities from accepting and processing Trump's state ballot access application.


                         (V) Does PlaintiffHave Standing to Enjoin the Republican Party from

                            dominating Trump


            66.     Pursuant to 28 U.S.C. § 2201(a). Castro is asking this Court to “declare the rights"

     of Castro as to whether he would have standing and the right to secure an injunction against the

     Republican Party to prevent his formal nomination at the Republican National Convention if

     Trump won the primary election.


                         (VI)      Alternatively, as a Write-In GeneralElection Candidate, Does

                            PlaintiffHave Standing to Enjoin Trump *s Inauguration


            67.     Pursuant to 28 U.S.C. § 2201(a). Castro is asking this Court to “declare the rights'

     of Castro as to whether he. having declared and verified his intention to be a write-in candidate

     for the general election if he is unsuccessful in securing the nomination of the Republican Party.

     would have standing and the right to secure an injunction against the Joint Congressional

     Committee on Inaugural Ceremonies preventing the inauguration of Trump if Trump won the

     general election.



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              Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 26 of 52
15




                         (VII)      Lastly, Declaratory ReliefAct Relaxes RedressahUity Analysis


             68.    'I'he Declaratory Judgment Act does not even require that relief could be sought.

     Pursuant to 28 U.S.C. § 2201(a). this Court '‘may declare the rights and other legal relations of'

     Castro and frump on "whether or not liirther relief is or could be soughtV The key phrase here is

     "whether or not further relief... could be sought." According to 28 U.S.C. § 2201(a). it is not

     required that relief could be sought at the time of the filing. The Court can still "declare the

     rights" of Castro and Trump, including their "legal relations." such as the constitutional

     disqualification of Trump and Castro's standing to disqualify Trump from pursuing and/or

     holding public office.

             69.    In essence, the redressability inquiry is relaxed because the declaratory judgments

     are the redressable relief that would remedy Castro's injuries.


           B. Section 3 of the 14th Amendment is Seef-Exect ting


              70.   The framers of Section 3 of the 14th Amendment intended the constitutional

     provision to be both self-executing and to provide a cause of action. More specifically, the

     Union sought to punish the insurrectionary Confederacy by making their ability to hold public

     office unconstitutional. The framers did this with the specific intent of removing the more

     politically popular insurrectionists from the ballot since they violated their oaths of allegiance to

     the   U.S. Constitution and the use of peaceful political           mechanisms to non-violently

     resolve disputes.

             71.    Article II. Section 1 of the United States Constitution stales that any person who

     enters the Office of the President of the United States of America shall lake the following Oath

     or Affirmation: "I do solemnly swear (or affirm) that I w'ill faithfully execute the Office of




                                                     27
            Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 27 of 52




    President of the United Slates, and will to the best of my ability, preserve, protect and defend the
i   Constitution of the United States.’'

           72.      Since the founding of our nation, those who assume civil or military positions

    under federal or slate law are required to take an oath and thereby state that they will defend the

    Constitution of the United States against all enemies, foreign and domestic.

           73.      Taking the side of a foreign enemy is covered by the Treason Clause in Article

    111. Section 3. Clause 1 of the United States Constitution. It states: ’Treason against the United

    States, shall consist only in levying War against them, or in adhering to their Enemies, giving

    them Aid and Comfort."

           74.      The Anti-Insurrection Qualification Clause in Section 3 of the 14th Amendment

    ol'the United States Constitution covers taking the side of a domestic enemy.


                 1. Anti-Insurrection Qualification Section


           75.      Section 3 of the 14ih Amendment of the United States Constitution is best

    described as the Anti-Insurrection Qualification Clause. It establishes that, in order to be eligible

    to hold any office in the United States, a person must have never violated an Oath of Office.

    which always includes a pledge to support the United States Constitution.

           76.      The Anti-Insurrection Qualification Clause in Section 3 of the 14th Amendment

    of the United States Constitution states that ”[njo person shall be a Senator or Representative in

    Congress, or elector of President and Vice President, or hold any office, civil or military, under

    the United States, or under any State, who. having previously taken an oath, as a member of

    Congress, or as an officer of the United States, or as a member of any State legislature, or as an

    executive or judicial officer of any Stale, to support the Constitution of the United Stales, shall

    have engaged in insurrection or rebellion against the same, or given aid or comfort to the


                                                    28
              Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 28 of 52




    enemies ihereof. Bui Congress ma\ by a vote ol' iwo-thirds oT each House, remove such

    disability."


             2. Amendment XIV, Section 3, Clause 1


             77.      Clause 1 of Section 3 of the 14th Amendment of the United States Constitution

    reads:'’No person shall... hold any office, civil or military, under the United States, or under any

    State, who. having previously taken an oath... to support the Constitution of the United States.

    shall have engaged in insurrection or rebellion against the same, or given aid or comfort to the

    enemies thereof’’

             78.      The word ’'engaged” for the purpose of Section 3 of the 14th Amendment

    "implies, and was intended to imply, a voluntary effort to assist the Insurrection... And further.

                                                                                                            -31
    the... action must spring from |a] want of sympathy with the insurrectionary movement.

             79.      As the U.S. Supreme Court has articulated, "[wjilhout a statutory definition, [one

1   must] turn to the phrase's plain meanin

             80.      Merriam-Webster's Dictionary defines an "insurrection” to be "an act or instance

    of revolting against civil authority or an established government.” An instance is "a step, stage.

    or situation viewed as part of a process or series of events.” Participation in the early or late

    stages of an event still constitute "an instance.” This w'ould apply to the w-ife of United States

    Supreme Court .Justice Clarence Thomas. Virginia Thomas, requiring Justice Thomas'

    mandatory recusal under 28 U.S.C. § 455. which Plaintiff asserts herein to preserve for appeal.

             81.      Of the term "revolting.” Merriam-Webster says "to renounce... subjection.”

    Renounce is to "refuse to follow', obey, or recognize.” Subjection is being "placed under


I   "      U.S. V. PowelL 65 N.C. 709 (C.C.D.N.C. 1871 ).
      See Tunzin v. Tanvir. 141 S. Ct. 486. 491 (2020)(thereafter refei'enciiig Merriam-Webster's Collegiate Dictionary
    for the plain meaning of a term).


                                                            29
             Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 29 of 52




    aulhority.“ Thus, an insurrection include all stages of the event wherein at at least one stage

    there was a refusal to recognize the authority of an established governmental body, such as the

    United States Senate and its ceremonial reading of the certified election results and engaging in

    violence to undermine both that process and the United States Constitution.

            82.       Defendant Donald John frump summoned his mob to oiir nation's Capitol.

    organized and assembled the mob. allowed weapons in the crowd by ordering security to let

    them pass, radicalized the mob with incendiary rhetoric, ordered them to march to the Capitol.

    refused to make public statements to denounce the violence and call off the mob for 187 minutes.

    and when it became clear that the mob had failed to use violence to prevent the certification ol'

    the election results, then and only then, did former President Donald .1. Trump order the mob to

    go home, but not before saying *'we love you" and calling the violent mob “’very special" after

    they had violently attacked the United States Capitol. All of these instances were part of the

    overall January 6 Insurrection in which Donald J.'frump was directly and irrefutably involved.

                      Clause 1 of Section 3 of the 14th Amendment to the United States Constitution

    declares that anyone deemed to have engaged in insurrection are "enemies.'' However, less focus

    is given to the fact that Section 3 similarly disqualifies those who have given "aid or comfoil" to

    insurrectionists.

            84.      "Aid or comfort may be given to an cnem\’ by words of encouragement, or the

    expression of an opinion, from one occupying an inHuential position.

            85.       ■['here is a distinction between domestic "aid or comfort" to insurrectionists and

    foreign "aid and comforf' to invaders. This was highlighted by President Andrew Johnson's

    comments to a New Hampshire delegation that "Treason is a crime and must be punished as a




      \tcKee V. Young. 2 Bart. El . Cas. 422 (1868).


                                                       30


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              Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 30 of 52



i                                                                           -34
     crime... It must not be excused as an unsuccessful rebellion.                ll was later reasoned that if


     'insurrection and levying war was accepted as treason, hundreds ol' thousands of men. most of

                                                                                                                ’●35
     them youths, were guilty of the olTense that carried a mandator)' sentence of death by hanging.

     “To the Congress, the old law was unworkable for the [Civil War| . . . [thus, on] .luly 31. 1861.

     Congress passed a law which provided that anyone found guilty of conspiracy to overthrow the

     United States Government or to interfere with the operation of its laws shall be guilty of a high

     crime. -36

             86.     “fhe offenses for which exclusion from office is denounced are not merely

                                                                                               ●’37
     engaging in insurrection... but the giving of aid or comfort to their enemies.'"                 In that case.

     Judge Chase, whom himself was balancing his need lor impartiality with his desire to pursue the
I
     Presidency, insinuated that the inclusion of the “aid or comfort" di.squalifier in Section 3 of the

     14th Amendment applied only in the context of a foreign invasion or war. Judge Chase was an

     abolitionist but still an ambitious and aspiring politician who considered campaigning for the

     Presidency and did not want to upset the South by declaring that the reference in Section 3 to

     "enemies" applied to the insurrectionists and rebels that fought for the Confederacy. Giving “aid

     and comfort" to foreign enemies was already covered by the Treason Clause in Article 111.

     Section 3. Clause 1 of the United States Constitution. Section 3 of the 14th Amendment, being a

     post-civil war amendment, was referring solely to domeslic enemies that engaged in insurrection

     or rebellion against the United States and had previously given an oath to support the

     Constitution; thereby only targeting higher-level officials that are required to take oaths.



     34
       See J.G. Randall. The Civil IVar and Reconstruction 707 (1937) (first omission in original).
i-      See Jonathan Truman Dorris. Pardon and Amnesty Under Lincoln and Johnson - The Restoration of the
     Confederates to Their Rights and Privileges IH61-189S. at 4 (! 953).
       See C. Ellen ConnalK'. The Use of the Fourteenth Amendment hv Salmon P. Chase in the Trial ofJefferson Davis
     42 Akron L. Rev. 1 165. 1 165 (2009).
     ' In re Griffin. 1 1 F. Cas. 7 (C.C.D. Va. 1 869).


                                                          31
                Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 31 of 52




               87.      'fhis is supported by the fact that the ‘'final version of Section 3 reflected a


      refinement of the radicals' philosoph) of formal equality. Opposition to the broader House


      proposal arose in part from the widespread view that many Confederate soldiers, even if not


      conscripted, had little real choice but to join the Southern cause. In that light, the final version of


      Section 3 was not less punitive so much as it was more targeted. Whereas the House version


      promised to affect the rank and file, the Senate version would reach only the senior leadership.


      Moreover, the Senate version was. in important ways, harsher than the House version. The


      House measure would have sunset in 1870 and applied only to federal elections. By contrast, the


      final version [of Section 3J permanently rendered virtually the entire political leadership of the


      South ineligible for office, both stale and federal. The final version of Section 3 thus reflected a


      nuanced view: as compared with felons. Confederate ofllcials were more deserving of

                                                                       -38
      punishment and Southern foot soldiers were less so.


                        Eveiy' federal,        stale,   and    local    public    official    that   offered     words     of
is-

      encouragement, show of sympathy, or expression of support for or defense of. the January 6

      Insurrection must, pursuant to Section 3 of the 14th Amendment to the United States


      Constitution, be declared ineligible to hold any civil or military office in the United States at the

      federal, slate, or local level.




         See Richard M. Re. Christopher M. Re. \’o(ing and I'/ce: Criminal Disenfranchisemeni and the Reconstruction
      Amendments. 121 Yale L.J. 1584. 1622-23 (2012): also see Hric Foner. Reconstruction: America’s Unfinished
       Revolution 1863-187^. at 259(1988).
         Under a state constitutional provision defining treason against the state in the same terms as treason against the
       United States, it has been said that a war being waged against the nation includes every state and that treason
      committed by aiding those at wai' against tlie nation is equally treason against the state. See Cohen v. Wright. 22 Cal.
      293. 1863 WL 569(1863). On the other hand, it has been held that a treasonable act against the United States is not
      treason against one ot the states and that the offense of adhering and giving aid and comfort to the public enemies of
      the United States is not treason against the people of the state. See Ex parte Ouarrier. 2 W. Va. 569. 1866 WL 3861
      (1866); also see People v. Lynch. 1 1 Johns. 549, 1814 WL 1458 (N.Y. 1814)(consequently, an indictment charging
      the offense to have been committed against the people of that state will be quashed). The question of w'hether this
      provides states with concurrent jurisdiction or is preempted by federal law has not been answered by the United
      States Supreme Court.


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                Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 32 of 52




               3. Amendment XIV, Section 3, Clause 2


               89.      Clause 2 of Seclion 3 of the 14th Amendment to the United States Constitution


    reads: ’"Congress may. by a vote of two-third of each House, remove such disability.*' {Emphasis

    added).

               90.      Plaintiff emphasizes the Constitution's use of the term "each'" since there appears

t   to be widespread misconception that only the U.S. House of Representatives is needed to remove

                                                                                    . 40
    the disqualifying disability, which stems from the 1868 case of Butler.                Therefore, if 290

    members of the U.S. House ol' Representatives and 67 members of the U.S. Senate vote to

    remove the disqualifying disability, a person otherwise ineligible to hold office under Section 3

    of the 14th Amendment could hold office. In today's political climate, this is impossible.

               91.      It is also critical to anticipatorily highlight that a Presidential pardon does not

    remove this disability since the United States Constitution provides that only Congress may lift

    the disability. This is contrar> to an old. outdated, and clearly biased Attorney General Opinion

    from Southern Confederate Augustus Garland that attempted to limit its scope; it inexplicably

    ignored the term "’each” and suggested a presidential pardon could remove the qualification

    disability notwithstanding the Constitution's clear and exclusive reservation and delegation of

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    that power solely to Congress.


               4. The Scope of Amendment XIV


               92.      The disqualification applies to both civil and military positions at both the federal

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    and state level, which has been judicially determined to even include a local constable position.



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         See Biiiler. 2 Bart. El. Cas. 461 (1 868).
         See Lcnvton'.s Cu.se. 18 Op.Atty.Gen. 149(1885).
         See U.S. V. Powell. 65 N.C. 709 (C.C.D.N'.C. 1871).



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                Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 33 of 52




               93.      'There can be no office which is nol either legislative, judicial, or executive

    [covered by Section 3 of the 14th Amendment because].. . it embraces every office... [and] it

    was passed to punish those high in authority... for their bad faith tow-ard the government they

    had sworn [in their oath of office] to support.

               94.      "The amendment applies to all the states of the Union, to all offices under the

    United States or under any state, and to all persons in the category of prohibition, and for all time

                             ^’44
    present and future.             It is a lifetime ban from public olHce.

               95.       As mentioned before. Section 3 of the 14th Amendment is merely an Anti-

}   Insurrection Qualification Clause. It was not intended to be a punishment for someone who

    engaged in an insurrection or gave aid or comfort to insuirectionists any more than the Natural

    Born Citizen qualification clause is punitive. If you are not a natural born citizen of the United

    States, you cannot hold the Office of the Presidenc>’. If \ou violated your oath ol' olfice by

    engaging in an insurrection, you cannot hold the Office of the Presidency. It's a mere

    qualification for the office.

               96.      The U.S. Supreme Court has explained that "[i]nsurrcction against a government

    may or ma)' not culminate in an organized rebellion, but a civil war always begins by

                                                                              ●●45
    insurrection against the lawful authority of the Government.                     fhis case reveals that there are


I   three tiers: (1) disorganized insurrection. (2) organized rebellion, and (3) formal civil war.

    Coupled with the criminal convictions lor seditious conspirac) . this proves that January 6. 2021.

    was an insurrection covered by the scope of Section 3 of the 14th Amendment.




    " ' /J.
    44
         In re Griffm. 1 1 F. Cas. 7 (C.C.D. Va. 1869).
    45
         The Amy Warwick.. 67 U.S. 635, 666 (1862).



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              Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 34 of 52




             5. Enforcement of Amendment XIV


             97.      In an attempt to neutralize Section 3 of the 14th Amendment, some commentators

     dating as far back as 1868. in an attempt to neutralize the power ol' Section 3 of the 14th

     Amendment, developed the legal theory that this provision of the U.S. Constitution was

     unenforceable without enabling legislation; thus, not self-executing providing an implied

     cause of action. As evidence of this, they cited Section 5 of the 14th Amendment, which states

     that "Congress shall have power to enforce, by appropriate legislation, the provisions of this

     article."

             98.      However. Section 5 of the 14th Amendment was only referring to the

     enforcement of Section 1 against belligerent states that continued to deny equal protection to all

«    ihcir citizens. The framers of the 14th Amendment certainh did not intend for the other sections
b'


     to be unenforceable without enabling legislation, such as Section 2 "Apportionment of

     Representatives." Section 4 "Validity of Public Debt." or Section 3 "Disqualification as OfUcers

     or Electors of Persons Who Have Engaged in Insurrection or Rebellion."

             99.      In fact, it was the President of the Confederac> . .lefferson Davis, who. in 1868.

     contended that Section 3 was. in fact, seli'-executing and. therefore, barred his criminal trial for

     treason.4(1 Moreover, it was United State Supreme Court .Justice Salmon P. Chase who agreed in

     .lefferson Davis* 1867 criminal trial that Section 3 was self-executing; thereby implicating the

     prohibition against Double Jeopardy.''^         In 1868. Salmon P. Chase unsuccessfully sought the

     Democratic presidential nomination.

     40
        See Gerard N. Magliocca, Amnesty and Section Three of the Fouiieenlh Amendment. 36 Const. Comment. 87
     (2021).
     47
        See Case of Davis. 1 F. Cas. 63. 90. 92-94.(C.C.D. Va. 1867)(No. 3.62 la)(describing Davis' argument and the
     Government's response): Id. at 102 (noting the Chief Justice's view). According to the seif-executing theory,
     insurrection was reduced to a political crime for which the only remedy was a lifetime ban from public office
     thereby giving rise to a Double Jeopardy defense. If. however. Section 3 of the 14th Amendment was not self
     executing. a politician could be criminally charged for seditious conspiracy.


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         Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 35 of 52




         100.     Shortly thereafter, in 1869. when a black criminal defendant challenged his

conviction on the grounds that the judge who presided over his trial fought for the Confederacy

and was. therefore, ineligible to preside over his trial thereby rendering his guilty verdict null and

void, a racially biased Chief Justice Chase reversed his position and declared that Section 3 was

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not self-executing.           In 1872. Salmon P. Chase unsuccessfully sought the Republican

presidential nomination.

         101.     Following these irreconcilable rulings from a clearly biased Justice Chase who

could not make up his mind. Congress decided to act on its own by enacting Section 3

enforcement statutes and. shortly thereafter, federal prosecutors began bringing actions to oust

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ineligible officials, including half of the Tennessee Supreme Court.

         102.     Congress' enactment of legislation was not an admission that Section 3 was not

self-executing: it was to avoid the lunacy of a clearly biased, conllicled. and politically active

Chief Justice that could not perform the functions of his office in a neutral, intellectual, fair, and

impartial manner.

         103.     In 1871. Amos Powell w'as indicted, via an enabling statute making it a crime to

knowingly violate Section 3 of the 14lh Amendment, "for accepting the office of sheriff when

disqualified from holding office by the 14lh Amendment... [and the] indictment charged that the

defendant knowingly accepted office under the state of North Carolina, to which he was

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ineligible under the provisions of the 3d section of the 14th Amendment."                          In other words, to

attach criminal penalties, enabling legislation is absolutely required since Section 3 of the 14th

Amendment makes no reference to criminal penalties.

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4'J
   InreGnJJ'm, 1 1 F. Cas. 7(C.C.D. Va. 1869)(No. 5.815),
   See Act of May 31, 1870 (First K.u Klux Klaii Act), cli. 1 14. § 14. 16 Sfat. 140. 143: id. at § 15 (imposing criminal
penalties for knowing Section Three violations): Sam D. Elliott. When the United States Attorney Sued to Remove
Half the Tennessee Supreme Court: The Quo Warranto Cases of 1870. 49 Tenn B.J. 20 (2013).
50
-■-'Set? U.S. V. Powe/L 65 N.C. 709 (C.C.D.N.C. 1871).


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          Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 36 of 52




          104.   Congress codified the criminal penalties at 18 U.S.C. § 2384, Seditious

Conspiracy.

          105.   Congress has jurisdiction to expel or exclude its own members that it determines

                                                           51
have violated Section 3 of the 14th Amendment.                  However, it is unclear whether Congress can

unilaterally impose said disability on the Executive Branch since that could be deemed an

encroachment on a separate branch of the federal government. Nevertheless, a Congressional

finding of liability would certainly aid the judiciary's fact-finding mission.

          106.   Historically, the neutral finder of fact and arbiter of law has been the judiciary.

Consistent with our principles of federalism and separation of powers, it is more likely that the

judiciary and. in particular, the United States Supreme Court would be the only authority that the

drafters of Section 3 could have possibly envisioned as being the most eompetent and legitimate

body to determine whether an individual is ineligible under the Anti-Insurrection Qualification

Clause.



        6. Plaintiff Has Stated a Valid Claim Upon Which Relief Can and Must Be

             Granted


          107.   The U.S. Supreme Couii has held that the ’’contention that the federal courts are

powerless to accord a litigant [reliefj for a claimed invasion of his federal constitutional rights

until Congress explicitly authorizes the remedy cannot rest on the notion that the decision to

grant... relief involves a resolution of policy considerations not susceptible of judicial

discernment.”'^ In other words, the Court has the power to find an implied cause of action to


prevent Section 3 of the 14th Amendment to being reduced to unenforceable w'ords on paper.



'' See Powell v. McCormack. 395 U.S. 486(1969).
   Bivens. 403 U.S. at 402(Harlan, concurring opinion).



                                                          37
         Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 37 of 52




        108.     The premise of the Declaralory Judgement Act is to answer the questions that


arise before the type of relief can be determined. As such. 28 U.S.C. § 2201(a) was specifically


designed to circumvent the redressabiliu requirement in a standing analysis.                        Nevertheless.


Castro has slated a claim based on an implied cause of action directly under the self-executing

Section 3 of the 14th Amendment.


         109.    The U.S. Supreme Court has explained that an insurrection becomes a rebellion as

                                  5.”5
it becomes more organized.               As such, an insurrection is inherently disorganized.              When it


becomes organized, it is then classilled as a rebellion. Once an organized rebellion is politically


recognized by elected officials as a legitimate means of settling irreconcilable differences of


opinion, it transforms into formal civil war.

         110.    Insurrection and rebellion are often incorrectly used interchangeably but have

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been defined as an attempt to overthrow a lawful go\ernment.' as an uprising of citizens in


resistance to their government.-         and as "the open and active opposition of a number of persons

to the execution of law.


         111.     The Seditious Conspiracy statute codified at 18 U.S.C. § 2384 provides insight

into the definition of sedition and insun-ection. which are synonymous, codified at 18 U.S.C. §


2383. Seditious Conspiracy is defined as two or more persons conspiring to "by force... prevent.

hinder, or delay the execution of an> law of the United States."



   The .4/j?y Wanvick. 67 U.S. 635. 666-67(1862)("InsutTcction against a government may or may not culminate in
an organized rebellion, but a civil war always begins by insurreclion against the lawful authority of the Government.
A civil war is never solemnly declared; it becomes such by its accidents—the number, power, and organization of
the persons who originate and carry it on. When the party in rebellion occupy and hold in a hostile manner a certain
portion of territory; have declared their independence; have cast off their allegiance; have organized armies: have
commenced hostilities against their former sovereign, the world acknowledges them as belligerents, and the contest
a war. They claim to be in arms to establish their liberty and independence, in order to become a sovereign State,
while the sovereign party treats them as insurgents and rebels who owe allegiance, and who should be punished with
death for their treason.”).
54
   See Gibson v. Stale. 38 Ga. 571.571 (1869).
55
   See Hearon v. Cains. 178 S.C. 381.(1935).
56
   In re Charge to Grand.hoy. 62 F. 828. 830(N.D. 111. 1894).


                                                         38
             Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 38 of 52




             112.    This is ihc single factor that distinguishes a riot from an insurrection.                   Both

    involve the use of force and violence. However, one has the intent to disrupt the execution of a


»   lav\ of the United States in a manner that threatens the stability of the government.

                                                                            57
             113.    An insurrection does not require bloodshed.' nor does it need to be sufficiently

    large to ensure the success of its attempt: however, it is neccssaiy that the uprising should be ’in

    opposition to the execution of the laws of the United States, and should be so formidable as for

                                                                      -58
    the time being to defy the authority of the United States.

             1 14.    fhe 2020 United States Presidential Election occurred on November 3. 2020. On

    November 7. 2020. then-incumbent President Donald J. frump was projected to have lost the

    Presidential Election.

             1 15.   The United States Constitution and federal statutes codify the procedures and

    dates governing the transfer of presidential power in the United States. The 12th Amendment

    requires presidential electors to meet in their respective states and certify "distinct lists of all

    persons voted for as President, and of all persons voted for as Vice-President, and of the number

    of votes for each.“

             1 16.   On December 14. 2020. the presidential electors of the Electoral College met in

    the state capital of each state and in the District of Columbia and formalized the result of the

    2020 U.S. Presidential Election: .loseph R. Biden Jr. and Kamala D. 1 larris were declared to have

    won SLifllcient votes to be elected the next President and Vice President of the United States.

             117.    1'he 12th Amendment also requires that the Vice President "shall, in the presence

    of the Senate and House of Representatives, open all the celiillcates and the votes shall then be

    counted." Title 3. Section 15 of the United States Code provides that the United States Congress


       rhe events of January 6. 2021. become so violent that law enforcement was compelled to utilize deadly force
    against Ashli Babbitt to protect members of Congress.
    5«
       In re Charge to Grand,Jury. 62 F. 828. 830(N.D. 111. 1894).


                                                           39
               Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 39 of 52




    must convene during a joint session proceeding ("the Joint Session") at 1:00 pm "on the sixth

    day of January succeeding eveiy meeting of the electors." with the Vice President presiding, to

    count the electoral votes, resolve any objeclions. certify their validity, and announce the result

    ("Certification of the Electoral College vote").

               1 18.   Several courts referred to the January 6. 2021. attack as an "insurrection.

               119.    Plaintiff incorporates his Verified Complaint by reference.
1              120.    In the case of McKee v. Young, it was said that "aid and comfort may be given to

    an enemy by words of encouragement, or the expression of an opinion, from one occupying an

                           "60
    influential position.

               121.    On September 29. 2020. then Commander-in-Chief of the United States Armed

    Forces issued an executive militaiy order to a paramilitary organization known as the Proud

    Boys that was led by Chairman Enrique Tarrio when he instructed them on live television to

    "stand back and standby."

               122.    On Januaiy 6. 2021. from 1:25pm to 4:03pm. Defendant Donald John Trump

    witnessed, on live television, the protest transform into a riot in front of the Capitol and

    eventually culminate into an insurrection with a smaller fraction of the rioters opposing, by

    violent force and invasion of the Capitol itself, the authority of the Government of the United

    States to prevent, hinder, and delay the Electoral College's certification of the 2020 election

    results.

               123.    After witnessing all of this. Defendant Donald John Trump stated on live



    59
      Budowich V. Pe/o.si. 2022 WL 1422823. at * I (D.D.C. 2022)(referring to the "attempted insurrection on January
    6. 2021"): United Stales v. Bingen. 2022 WL 1659163. at * I (D.D.C. 2022)(referring to an "unsuccessful
    insurrection"); United States v. Reffitt. 2022 WL 1404247. at *3 (D.D.C. 2022)(quoting defendant who referred to
    the event, in writing, as an insurrection).
    60
      Myles S. Lynch. Disloyalty & Disqualitication: Reconstructing Section 3 of the Kourteenth Amendment. 30 Wm.
    & Matty Bill Rts. J. 153. 172(2021)(citing I l.R, REP. NO.40-29. at 2(1868)).


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            Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 40 of 52




television, ’‘we love you, you're very special" to the insurrectionists, which included Enrique

Tando and Stewart Rhodes who were later convicted of seditious conspiracy. Defendant Donald

John Trump's statements on live television were unambiguous words of sympathy toward the

violent insurrectionary movement that tiireatened the stability of the government.

            124.     On January 29. 2022. Defendant Donald John frump publicly stated. ’Tf I run and

if 1 win. we will treat those people from January 6 fairly. We will treat them fairly. And if it

requires pardons, we will give them pardons." Defendant Donald John frump promised the

insurrectionists aid in the form of executive pardons for their criminal attempt to unlawfully

overturn the 2020 election results.

            125.     On June 22. 2023. Defendant Donald John frump hosted a fundraiser for the

Januar> 6 insurrectionists thereby assisting in the acquisition of llnancial aid for their legal bills.

More aid and comfort to the insurrectionary movement.

            126.     Plaintiff incorporates the Select January 6th Committee final Report and

Supporting Materials herein by reference, 'fhe full report is not physically included herein due to

its voluminous nature.

            127.     Although the events of January 6. 2021. indisputably constitute an insurrection.

because the President of the United States is generally immune from criminal liability unless and

until he is both impeached by the IJ.S. House of Representatives and politically convicted by the

U.S. Senate, after which he is “liable and subject to Indictment.        he cannot be indicted under

either 18 U.S.C. § 2383 or 2384. Nevertheless, criminal indictment and proof of culpability

beyond a reasonable doubt is not a prerequisite to enforcing Section 3 of the 14th Amendment.




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     U.S. Const, art. I. Section 3. Clause 7.


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                Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 41 of 52




           C. Injunctive Relief


                128.    *The court may issue a temporary restraining order... only if specific facts in... a
il   verified complaini clearly show that immediate and irreparable injury, loss, or damage will

     result... before the adverse party can be heard.“ Fed. R. Civ. P. 65{b)(l)(A)-(B).

                129.    Rule 65. in effect, mandates a thorough reading of all of the facts in Plaintiff's

     Verified Complaintfor Declaratory and Injunctive Relief.

                130.    "To prevail in an application for a stay or an injunction, an applicant must carry

     the burden of making a strong showing that it is 'likely to succeed on the merits.' that it will be

     'irreparably injured absent |reliet].' that the balance of the equities favors it. and that [relief] is

                                              ●'(S2
     consistent with the public interest.


                        (I) Substantial Likelihood of Success on the Merits


                131.    The facts of this case are self-evident.      Plaintiff could motion for a judgment on

     the pleadings after clearing the dismissal phase and likely win on that basis without further fact-

     finding.      Plaintiff has established a prima facie case of a violation of Section 3 of the 14th

     Amendment.



                        (2) Substantial Threat of Irreparable Harm Without an Injunction


                132.    Castro is already suffering irreparable competitive injuries because Trump, who is

     constitutionally ineligible to hold office, is siphoning off votes and contributions.           Trump's

     unconstitutional candidacy is putting Castro at both a voter and donor disadvantage.
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     62
          Whole Woman's Heallh v. Jackson, 1418. Cl. 2494. 2495 (2021).



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            Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 42 of 52




                       (!) IrrepHrabiUty ofthe Injun


                   Votes cannot be redistributed once cast.        Financial contributions cannot be

    refunded once given, 'fhis isprimafacie irreparable harm.


                       (I!) Degree ofthe Threat

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           134.    We have passed the ’'degree of the threaf* analysis.        Plaintiff John Anthony

    Castro is presently being in-eparably injured every day that Defendant Donald John Trump is

    permitted to continue his unconstitutional candidacy.


                       (Hi)        Infringement ofConstitutional Rights and Protections


            135.   The U.S. Supreme Court recently held that the infringement oPTirst Amendment

    freedoms, for even minimal periods of time, unquestioiiahly constitutes irreparable injur>'.'' See

    Roman Caih. Diocese of Brooklyn v. Cuomo. 141 S. Ct. 63. 67 (2020); also see Elrod v. Burns.

    427 U.S. 347. 373 (1976).

            136.   The public interest is greatly .served by preventing a violation of the United States
i
    Constitution. See Council ofAllernalive Political Parties r. Hooks. 121 F.3d 876. 883-884 (3d.

    Cir. 1997)(stating that in '‘the absence of legitimate, countervailing concerns, the public interest

    clearly favors the protection of constitutional rights.")-

            137.   The United States Constitution conferred onto individuals like Plaintiff John

    .Anthony Castro with the right to not have to politically compete with someone that either

    engaged in or merely provided aid or comfort to an insurrection or insurrectionists. This is a new

    constitutional right not previously recognized by the federal judiciary.




                                                      43
            Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 43 of 52




                   (3) Actual Sustained Harm and Threat of Further Injury Outweighs the

                       Harm that an Injunction Would Cause Defendant


            138.   Plaintiff John Anthony Castro's sustained harm and ongoing harm outweighs the

    harm an injunction would cause Defendant Donald John frump. We cannot ignore the intent of

    the framers of the Fourteenth Amendment. For they saw with their own eyes what men like

    Defendant Donald John Trump can do to the seams that bind our nation. They foresaw that men

    like Defendant Donald John Trump would not be satisfied until they spilled the blood of every
I
    American citizen that disagreed with them.

            139.   Defendant Donald John Trump has promised to imprison his political enemies if

    re-elected President of the United States.

            140.    The entire nation knows that Delendant Donald John 'frump provided aid and

    comfort to the January 6th Insurrection. The only remaining question is whether the federal

    judiciary has the courage to do the right thing.


                   (4) Injunction Will Not Disserve the Public Interest


            141.   The public has an interest in preserving our Republic from a pro-insurrection

    candidate who is constitutionally disqualified and presently both a state and federal criminal

    defendant facing over 300 years in state and federal prison.

            142.   If a denial of temporary injunctive relief will moot the issue given the time-

    sensitive nature of the circumstances, it has the "practical effect" of denying preliminary

    injunctive relief and is. therefore, appealable under 28 U.S.C. § 1292(a)(1) as of right. See

    Carson v. Am. Brands. Inc.. 450 U.S. 79. 83 (1981).




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       Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 44 of 52




                                   Respectlully sL^iiilted.

November 30. 2023.                 By:    k         ioiT^asTf(7
                                          John Anthony Castro
                                          12 Park Place
                                          Mansfield. TX 76063
                                          Tel.(202)594-4344
                                          J.Castro@JohnCastro.com
                                          Plaintiff   Se




                                     45
            Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 45 of 52




                                           VERIFICATION


    I. John Anthony Castro, declare as Ibllows:


       /. 1 am the plaintiff in the present case, a U.S. citizen, and an FEC-registered Republican

           primary presidential candidate (Candidate FEC ID Number P40007320) for the 2024

           Presidential Election.


       2. 1 am a ballot-placed Republican Primary Pi-esidenlial candidate in New Hampshire.

           Nevada, and Arizona. 1 intend to be nominated by the Republican Party and to win the

           General Election to serve as President of the United States.


       j. This is a portion of the media coverage my campaign activities have received to-date:


               a. Associated Press: https://apnews.com/article/nevv-hampshire-presidential-

                  primary-2024-5bd66ceac3df4()13b0ec7676422f40bc


I              b. Reuters: https://www.reuters.com/world/us/us-supreme-court-rebuffs-long-shol-

                  candidates-bid-disqualify-lrump-2024-2023-10-02/


               c. Boston Globe: https://www.bostonglobe.eom/2023/l 0/30/metro/judge-dismisses-

                  lawsuit-that-soLight-block-trump-nh-ballot/


               d. NBC New's: https://www.nbcnews.com/politics/donald-trump/live-blog/live

                  updates-trump-indictmcnt-classir!ed-documenls-rcna88494


               e. NBC News: https://www.nbcnews.com/politics/2024-elcction/big-names-

                  perennial-candidates-mix-new-hampshires-presidential-filing-rcnal 19994


              f   CNN: https://www.cnn.eom/2023/10/02/politics/donald-trump-fourteenth-

                  amendment-ballot-case-supreme-court/index.hlml




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    Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 46 of 52




      g. CNN: https://edilion.cnn.com/politics/live-news/trump-fraud-tnal-new-york-l0-

           02-23/h d677487e65da8431)^dlcc988015786cf


      h. Fox News: https://www.foxncws.com/politics/push-block-trump-new-hampshire-

           ballot-received-coldly-slate-gop-leaders


      i.   ABC News: https://abcnews.go.eom/Politics/group-sues-block-trump-2024-

           ballot-citing-14th/stor\'?id= 102964534


      j.   ABC News: https://abcnews.go.com/Politics/wireStory/groups-scek-conslitutions-

           insurrection-clause-block-trump-2024-102823096


      k. ABC News: https://abcnews.go.com/Politics/wireSlory/filing-pcriod-new-

           hampshire-presidential-primar)'-opens-103883184


      1.   New York Times: https://www.nytimes.eom/2023/08/30/us/politics/trump-14th-

           amendment.html


      m. New York Times: https://www.nytimes.eom/2023/09/06/us/politics/trump-

           colorado-lawsuit-14-amendment.html


      n. New York Times: https://w^vw.nytimes.com/2023/09/18/us/politics/trump-

           california-ballot.html


      o. PBS: https://www.pbs.org/newshour/politics/liberal-groups-seek-to-use-the-l 4th-

           amendment-to-block-trump-from-2024-ballots


      p. Politico: https://wwvv.politico.eom/news/2023/09/01/fourteenth-amcndment-

           insurrection-clause-trump-001 13790




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          4. I have personal first-hand knowledge of all of the factual matters set forth in this


               document, and. if called upon to testify or give oral arguments. 1 would competently do

               so.


          0.   Pursuant to 28 IJ.S.C. § 1746 and state. 1 verify under penalty of perjuty' that the entirety

               of the foregoing document is true and correct.




       Executed on November 30. 2023.




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Case 1:23-cv-00531-SE-AJ Document 1 Filed 12/01/23 Page 52 of 52




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